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                                          UNITED STATES DISTRICT COURT                     ~~       * ~'~ ~ ~
                                      CENTRAL DISTRICT OF CALIFORNIA

                                                               CASE NUMBER:
UNITED STATES OF AMERICA
                                                   PLAINTIFF              I-! ~~~(5`~9 ~j
                  V.

EDWARD BUCK                                                         REPORT COMMENCING CRIMINAL
                                                 DEFENDANT                        ACTION

TO: CLERK'S OFFICE, U.S. DISTRICT COURT

All areas must be completed. Any area not applicable or unknown should indicate "N/A".

1 • Date and time of arrest:     09-~ 9-~ 9             /Z:c~ ~,              p AM ~M
2. The above named defendant is currently hospitalized and cannot be transported to court for arraignment or
   any other preliminary proceeding:       ~ Yes      ❑✓ No

3. Defendant is in U.S. Marshals Service lock-up (in this court building):    `   Yes   ❑ No

4. Charges under which defendant has been booked:
    Title 21, United States Code, Section 841(a)(1),(b)(1)(C)
5. Offense charged is a:       ~ Felony      ~ Minor Offense        ~ Petty Offense     ❑Other Misdemeanor

6. Interpreter Required: ~~No ,des                 Language: Ef1gIISII
7• Year of Birth: 1954

8. Defendant has retained counsel:            10
      Yes        Name:          ~..— l~                               Phone Number:


9• Name of Pretrial Services Officer notified:     v-~~,~`, ~( ;~~Q~S

10. Remarks (if any):


1 1. Name: Bob Thomas                                    (please print)

12. Office Phone Number: 2~ 3-3O5-SH95                                    13. Agency: DEA

14. Signature:                                                            15. Date: 09-19-~ 9


CR-64(2/14)                                REPORT COMMENCING CRIMINAL ACT1pN
